CM/ECF-GA Northern District Court                                https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?943543211146275-...
                         Case 1:20-cv-04809-TCB Document 74 Filed 12/07/20 Page 1 of 2




                                                 1:20-cv-04809-TCB
                                             Pearson et al v. Kemp et al
                                           Honorable Timothy C. Batten, Sr.

                                Minute Sheet for proceedings held In Open Court on 12/07/2020.


              TIME COURT COMMENCED: 10:00 A.M.
              TIME COURT CONCLUDED: 11:06 A.M.                 COURT REPORTER: Lori Burgess
              TIME IN COURT: 1:06                              DEPUTY CLERK: Uzma Wiggins
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)            Joshua Belinfante representing Brad Raffensperger
         PRESENT:               Joshua Belinfante representing Brian Kemp
                                Joshua Belinfante representing David J. Worley
                                Joshua Belinfante representing Matthew Mashburn
                                Joshua Belinfante representing Rebecca N. Sullivan
                                Amanda Callais representing DCCC
                                Amanda Callais representing DSCC
                                Amanda Callais representing Democratic Party of Georgia, Inc.
                                Julia Haller representing Brian Jay Van Gundy
                                Julia Haller representing Carolyn Hall Fisher
                                Julia Haller representing Cathleen Alston Latham
                                Julia Haller representing Coreco Jaqan Pearson
                                Julia Haller representing Gloria Kay Godwin
                                Julia Haller representing James Kenneth Carroll
                                Julia Haller representing Vikki Townsend Consiglio
                                Harry MacDougald representing Brian Jay Van Gundy
                                Harry MacDougald representing Carolyn Hall Fisher
                                Harry MacDougald representing Cathleen Alston Latham
                                Harry MacDougald representing Coreco Jaqan Pearson
                                Harry MacDougald representing Gloria Kay Godwin
                                Harry MacDougald representing James Kenneth Carroll
                                Harry MacDougald representing Vikki Townsend Consiglio
                                Charlene McGowan representing Anh Le
                                Charlene McGowan representing Brad Raffensperger
                                Charlene McGowan representing Brian Kemp
                                Charlene McGowan representing David J. Worley
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1 of 2                                                                                                           12/7/2020, 2:36 PM
CM/ECF-GA Northern District Court                                 https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?943543211146275-...
                         Case 1:20-cv-04809-TCB Document 74 Filed 12/07/20 Page 2 of 2

                                    Charlene McGowan representing Matthew Mashburn
                                    Charlene McGowan representing Rebecca N. Sullivan
                                    Carey Miller representing Anh Le
                                    Carey Miller representing Brad Raffensperger
                                    Carey Miller representing Brian Kemp
                                    Carey Miller representing David J. Worley
                                    Carey Miller representing Matthew Mashburn
                                    Carey Miller representing Rebecca N. Sullivan
                                    Sidney Powell representing Brian Jay Van Gundy
                                    Sidney Powell representing Carolyn Hall Fisher
                                    Sidney Powell representing Cathleen Alston Latham
                                    Sidney Powell representing Coreco Jaqan Pearson
                                    Sidney Powell representing Gloria Kay Godwin
                                    Sidney Powell representing James Kenneth Carroll
                                    Sidney Powell representing Vikki Townsend Consiglio
                                    ** Abigail Frye
         PROCEEDING
                                    Motion Hearing(PI or TRO Hearing-Evidentiary);
         CATEGORY:
         MOTIONS RULED              [43]Motion to Dismiss GRANTED
         ON:                        [63]Motion to Dismiss GRANTED

         MINUTE TEXT:               Defendants' motions are GRANTED. TRO is DISSOLVED. Case is
                                    DISMISSED. Clerk shall close the case.
         HEARING STATUS:            Hearing Concluded




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